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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 In re Application of                              Case No. 18-mc-51 (JRT/TNL)
 Armcon Limited,
                                                               ORDER
                        Petitioner.


 Hugh D. Brown and Leon P. Wells, IV, Fabyanske, Westra, Hart & Thomson, P.A.,
 333 South Seventh Street, Suite 2600, Minneapolis MN 55402 (for Petitioner).


       This matter is before the Court, United States Magistrate Judge Tony N. Leung, on

Armcon Limited’s Expedited Ex Parte Application for Discovery Order Pursuant to 28

U.S.C. § 1782(2) in Aid of Foreign Proceeding. (ECF No. 1). For the reasons set forth

below, the petition is granted.

 I.    BACKGROUND

       Petitioner Armcon Limited (“Armcon”) is a company based in the United Kingdom

and operates in the concrete industry. (Decl. of Robert Armstrong ¶ 1, ECF No. 3). In July

2005, Armcon registered the “CEMEN TECH” trademark with the European Union.

(Armstrong Decl. ¶ 2).

       In June 2006, Armcon entered into a distributor agreement with an Indianola, Iowa-

based company named “Cemen Tech, Inc.” (Armstrong Decl. ¶ 3). Cemen Tech

manufactures and sells various concrete dispensing machines and related equipment.

(Armstrong Decl. ¶ 3). The agreement between Armcon and Cemen Tech was signed on

behalf of Cemen Tech by its then-President, Thomas Palme. (Armstrong Decl. ¶ 4). During

discussions related to the agreement, Armcon and Cemen Tech, through Palme, discussed
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the “CEMEN TECH” trademark registration in the European Union. (Armstrong Decl.

¶ 5).

          In June 2015, Cemen Tech also registered the “CEMEN TECH” trademark with the

European Union. (Armstrong Decl. ¶ 7). Armcon has since filed an application with the

European Union Intellectual Property Office (“EUIPO”) to declare Cemen Tech’s

registration of the “CEMEN TECH” trademark invalid. (Armstrong Decl. ¶ 8; Decl. of

Michael Shaw ¶ 2, ECF No. 4). In response, Cemen Tech filed an application with EUIPO

to declare Armcon’s “CEMEN TECH” trademark invalid. (Armstrong Decl. ¶ 8; Shaw

Decl. ¶ 2). The EUIPO proceedings remain pending, with evidentiary submissions due July

28 and August 14, 2018. (Armstrong Decl. ¶ 9; Shaw Decl. ¶¶ 2, 4). 1 Armcon seeks to

depose Palme regarding his knowledge of Armcon’s “CEMEN TECH” trademark at the

time he was employed by Cemen Tech. (Armstrong Decl. ¶ 10; Shaw Decl. ¶ 5).

          Palme is a resident of Mankato, Minnesota, located in Blue Earth County.

(Armstrong Decl. ¶ 11; Shaw Decl. ¶ 6; ECF No. 7). Palme is no longer employed by

Cemen Tech. (Armstrong Decl. ¶¶ 4, 6)

    II.   ANALYSIS

          Under 28 U.S.C. § 1782,

          [t]he district court of the district in which a person resides or is found may
          order him to give his testimony or statement or to produce a document or
          other thing for use in a proceeding in a foreign or international tribunal,
          including criminal investigations conducted before formal accusation. The
          order may be made . . . upon the application of any interested person . . . .


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  The Court notes Armcon filed its Petition on July 10, 2018, a mere 18 days prior to the first deadline for
its discovery submissions in the EUIPO proceeding.


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28 U.S.C. § 1782(a); see also In re Hallmark Capital Corp., 534 F. Supp. 2d 951, 953–54

(D. Minn. 2007) (an order is “appropriate where the Applicant establishes that (1) the

discovery is sought from a person found in this district, (2) the discovery is for use in a

proceeding before a foreign tribunal, and (3) the applicant is an ‘interested person’ before

such foreign tribunal.”).

       Here, based on the record before the Court, Palme resides in Mankato, Minnesota,

which is within the District of Minnesota. The petitioner, Armcon, seeks to use the

discovery sought for proceedings before the European Union’s Intellectual Property

Office. Armcon qualifies as an “interested person” given it is a participant in the EUIPO

proceedings by reason of its affirmative and defensive claims related to the “CEMEN

TECH” trademark registrations. Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S.

241, 256 (2004) (“No doubt litigants are included among, and may be the most common

example of, the ‘interested persons’ who may invoke § 1782.”). Accordingly, Armcon has

satisfied the requirements set forth in § 1782(a).

       “[A] district court is not required to grant a § 1782(a) discovery application simply

because it has the authority to do so.” Intel Corp., 542 U.S. at 264. The Supreme Court has

enumerated four “factors that bear consideration in ruling on a § 1782(a) request.” Id.

These factors are: (1) whether the person from whom discovery sought is a participant in

the foreign proceeding; (2) the nature of the foreign tribunal, the character of the foreign

proceedings, and the receptivity of the foreign tribunal to federal judicial assistance;

(3) whether the request conceals an attempt to circumvent foreign proof-gathering

restrictions or other policies; and (4) whether the request is unduly intrusive or


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burdensome. Id. at 264–65; accord In re Hallmark Capital Corp., 534 F. Supp. 2d at 954

(once the statutory requirements are met, “a court has the discretion to grant an application

under Section 1782 if doing so would (1) provide an efficient means of assistance to

participants in international litigation, and (2) encourage foreign countries to provide

reciprocal means of assistance to United States courts and litigants.”) (citing In re

Application of Euromepa, 51 F.3d 1095, 1097, 1101 (2d Cir. 1995)).

          Based on the factors outlined in Intel Corp., the Court concludes that the petition

should be granted. Palme is not a participant to the foreign proceedings. Rather, he is an

individual who, by reason of his former position with Cemen Tech, may have evidence

related to Cemen Tech’s prior knowledge of Armcon’s “CEMEN TECH” trademark in the

European Union. There is no indication that the EUIPO would reject evidence obtained by

Armcon in the United States. Nor is there any indication that Armcon is attempting to

circumvent foreign proof-gathering procedures. And finally, the discovery sought is

narrowly tailored to Palme’s knowledge concerning the “CEMEN TECH” trademarks at

dispute in the EUIPO proceedings. Accordingly, the Court finds that the factors espoused

in Intel Corp. all weigh in favor of granting the petition.

III.      CONCLUSION

          Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that

          1.    Armcon Limited’s Expedited Ex Parte Application for Discovery Order

       Pursuant to 28 U.S.C. § 1782(2) in Aid of Foreign Proceeding, (ECF No. 1), is

       GRANTED.


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      2.     Petitioner Armcon Limited, through counsel, is authorized to issue, sign, and

   serve a subpoena upon Thomas Palme, in substantially the same form as attached to the

   Petition. (See ECF No. 7 (proposed subpoena)).

      3.     In accordance with 28 U.S.C. § 1782(a), the discovery conducted pursuant

   to this Order, as well as any related motion practice, shall comply with the Federal

   Rules of Civil Procedure and the Local Rules of this Court.

      4.     Failure to comply with any provision of this Order or any other prior

   consistent order shall subject the non-complying party, non-complying counsel and/or

   the party such counsel represents to any and all appropriate remedies, sanctions and the

   like, including without limitation: assessment of costs, fines and attorneys’ fees and

   disbursements; waiver of rights to object; exclusion or limitation of witnesses,

   testimony, exhibits, and other evidence; and/or any other relief that this Court may from

   time to time deem appropriate.



Date: July 18, 2018                                     s/ Tony N. Leung
                                                 Tony N. Leung
                                                 United States Magistrate Judge
                                                 District of Minnesota

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